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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 UNITED STATES OF AMERICA                             §
                                                      §   CASE NO. 4:23-CR-218-2
 vs.                                                  §
                                                      §
 (2) DHIRENKUMAR VISHNUBHAI PATEL,                    §
                                                      §
                       Defendant.                     §

                                           ORDER

       The Court GRANTS the Joint Motion to Continue Sentencing and Related Deadlines filed

by the United States and Defendant Dhirenkumar Vishnubhai Patel and resets the sentencing dates

as set forth below.

       1.      The Probation Office will disclose the initial Presentence Investigation Report

(PSR) to counsel by __________________.

       2.      Counsel will file any objections or a statement of no objection to the PSR by

_________________________.

       3.      The Probation Office will submit the final PSR with an addendum 7 days prior to

sentencing.

       4.      Sentencing will take place on _____________________ at _______________.

       Signed on _______________________________, 2024.


                                           _________________________
                                           Andrew S. Hanen
                                           United States District Judge
